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24TH JUDICIAL DISTRICT COURT
PARISH OF JEFFERSON

STATE OF LOUISIANA

Case Number: WARRANT NUMBER:
A-15489-20 A-15489-20

AFFIDAVIT FOR SEARCH AND SEIZURE WARRANT

BEFORE ME, the undersigned Authority of the 24TH JUDICIAL DISTRICT COURT, Parish of
JEFFERSON, State of Louisiana, Keith Dowling , of the Jefferson Parish Sheriff's Office, who,
upon being duly sworn by me, deposes and says:

PROBABLE CAUSE EXIST FOR THE ISSUANCE OF A SEARCH WARRANT
AUTHORIZING THE SEARCH OF:

7°99

one Hikvision DVR bearing serial number DS7204HGHI-SH, property of Destrehan High
School

WHERE THE FOLLOWING DESCRIBED ITEM(S) IS/ARE BELIEVED TO BE LOCATED:

any and all data, including but not limited to video surveillance footage

AND ARE BELIEVED TO CONSTITUTE A VIOLATION OF:
No charge at this time
PROBABLE CAUSE IS BASED ON THE FOLLOWING FACTS:

Pursuant to an ongoing death investigation that occurred on Sunday, January 19, 2020 at
approximately 1:29pm at Laser Tag located at 8855 Veterans Boulevard in Metairie,
investigators with the Jefferson Parish Sheriff's Office and the St. Charles Parish Sheriff's
Office executed a search warrant at Destrehan High School located at #1 Wildcat Lane in
Destrehan on Tuesday, January 21, 2020. This search warrant was in reference to obtaining any
and all school records related to the deceased, Ej PII, including any and all video
surveillance footage. While conducting the search, investigators observed that Pls classroom
was monitored by a video surveillance system.

On Friday, February 7, 2020, school officials turned over school records for Pia and the
Hikvision DVR bearing serial number DS7204HGHI-SH from PIs classroom to St. Charles
Parish Sheriff's Office investigators. These items were then turned over to Jefferson Parish
Sheriff's Office investigators as evidence relative to this death investigation. This DVR will be

EXHIBIT

Friday, February 07, 2020 15:41
7) JPSO 002225

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forwarded to the JPSO Digital Forensics Unit for execution of a search pending obtaining
this order.

Based on these events, Sergeant Keith Dowlng of the JPSO Homicide Section respectfully
requests for the granting of a search warrant for the contents of the Hikvision DVR bearing serial
number DS7204HGHI-SH. This request is due to the belief that evidence pertinent to this
investigation is secreted inside of the DVR.

I hereby certify under oath the facts contained within the Application for this
Search Warrant to be true and correct, under penalties of perjury, so help me God.

ith Dla

Keith Dowling
AFFIANT

THUS DONE AND PASSED on the 7 day of February, 2020 after reading of the whole.

Poul, Schauer

Paul Schneider
Judge
24TH JUDICIAL DISTRICT COURT

Parish of JEFFERSON
State of Louisiana

Friday, February 07, 2020 15:4]
JPSO 002226
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24TH JUDICIAL DISTRICT COURT
PARISH OF JEFFERSON
STATE OF LOUISIANA

CASE NUMBER: WARRANT NUMBER:
A-15489-20 A-15489-20

SEARCH AND SEIZURE WARRANT

AFFIDAVIT HAVING BEEN MADE BEFORE ME BY Keith Dowling of the Jefferson
Parish Sheriff's Office, that he has a good reason to believe that on or in:

one Hikvision DVR bearing serial number DS7204HGHI-SH, property of Destrehan High
School

located at the address: , ,, there is now being concealed certain property,

any and all data, including but not limited to video surveillance footage

is/are located, which property constitutes evidence of the violation of:
No charge at this time

of the Louisiana Revised Statues, and the affidavit submitted in support of this search warrant
shows the necessary probable cause for its issuance. The purpose and reason for the search is to
find and seize the item(s) listed above.

YOU ARE HEREBY ORDERED to search forthwith the aforesaid for the property specified
serving this Search and Seizure Warrant and making the search during the day time or night time,
Sundays or holidays, and if the thing(s) specified are found there, to seize it and hold them in safe
custody pending further orders of the court. This shall be your warrant, whereof you are to make
due to return according to law.

Friday, February 07, 2020 15:41
JPSO 002227
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WITNESS my official signature on this 7 day of February, 2020.

Poul Schwa

Paul Schneider
24TH JUDICIAL DISTRICT COURT

Parish of JEFFERSON
State of Louisiana

Friday, February 07, 2020 15:41
JPSO 002228
